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                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          ____________
No. 20-5361                                                     September Term, 2020
                                                                          1:19-mc-00145-TSC
                                                            Filed On: January 8, 2021
In re: In the Matter of the Federal Bureau of
Prisons' Execution Protocol Cases,

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James H. Roane, Jr., et al.,

                  Appellees

Alfred Bourgeois and Brandon Bernard,

                  Appellants

Bruce Webster, et al.,

                  Appellees

         v.

William P. Barr, Attorney General, et al.,

                  Appellees


                                             ORDER

       Upon consideration of appellants’ unopposed motion for voluntary dismissal of
this appeal, it is

         ORDERED that the motion be granted and this case be dismissed.

         The Clerk is directed to issue the mandate forthwith to the district court.


                                                              FOR THE COURT:
                                                              Mark J. Langer, Clerk

                                                      BY:     /s/
                                                              Amy Yacisin
                                                              Deputy Clerk
